                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                          CRIMINAL DOCKET NO.: 5:04CR50

UNITED STATES OF AMERICA                  )
                                          )
            vs.                           )
                                          )                       ORDER
J. CONCEPCION NUNEZ-BERRERA (2),          )
                                          )
            Defendant.                    )
_________________________________________ )

        THIS MATTER is before the Court on the Government’s Motion for Peremptory Setting

of Trial, filed June 23, 2006. On June 28, 2006, Defendant signed a Plea Agreement with the

Government and is currently scheduled for a plea hearing before United States Magistrate Judge

David Keesler on July 7, 2006. Therefore, the Government’s request for a peremptory setting of

the trial in this matter is moot.

        IT IS, THEREFORE, ORDERED that the Government’s Motion for Peremptory

Setting of Trial is hereby DENIED AS MOOT.



                                               Signed: July 5, 2006




      Case 5:04-cr-00050-RLV-CH         Document 92       Filed 07/05/06     Page 1 of 1
